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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION



   UNITED STATES OF AMERICA,
   vs.                                              Case No. 23-80101-CR
   DONALD J. TRUMP,                                 CANNON/REINHART
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,
                  Defendants.


             PRESIDENT TRUMP’S REPLY IN SUPPORT OF MOTION FOR
                   AN ADJOURNMENT OF THE DEADLINES FOR
         DEFENDANTS’ RULE 16 EXPERT DISCLOSURES AND CIPA § 5(a) NOTICE

          President Donald J. Trump respectfully submits this reply in support of his motion for an

  adjournment of the deadlines for Defendants’ Rule 16 Expert Disclosures and CIPA § 5 (a) Notice

  (the “Motion”), ECF No. 452, and in response to the opposition brief by the Special Counsel’s

  Office (“SCO”), ECF No. 453 (the “Opposition”).

          The SCO both fails to identify any prejudice to the government if the Court grants a brief

  extension of the Rule 16 and CIPA § 5(a) deadlines and does not earnestly acknowledge President

  Trump’s constitutional right to counsel of his choice. The SCO inexplicably asserts that

  “defendants are wrong that no prejudice would result” if the Court granted the Motion. ECF No.

  453 at 7. Yet, the SCO makes no effort to actually identify how the government would be

  prejudiced by an extension of time to allow President Trump and his counsel the right to defend

  him in New York and before this Court. The SCO then ignores the obvious and substantial

  prejudice to President Trump. Simply put, President Trump and his counsel cannot prepare—or

  even discuss—the required filings anywhere but an appropriate SCIF, a virtually impossible task
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  given President Trump and Messrs. Blanche and Bove’s involvement in People v. Trump, Ind. No.

  71543-2023 in New York, New York.

          The SCO argues President Trump’s constitutional rights are “not implicated” because his

  counsel has had “months to prepare the submissions at issue” and will “only be in trial four days

  a week in New York.” ECF No. 453 at 6. This premise is untethered to reality and disregards the

  substantial motion practice that has occurred before this Court. See, e.g., ECF Nos. 236 (Notice

  of Filing CIPA § 4 Motions); 262 (Motion to Compel Discovery); 324 (Motion to Dismiss Based

  on Presidential Immunity); 325 (Motion to Dismiss Based on Unconstitutional Vagueness); 326

  (Motion to Dismiss Based on Unlawful Appointment and Funding of Special Counsel); 327

  (Motion to Dismiss Based on the Presidential Records Act). President Trump and his counsel have

  not been sitting idle over the past months and have worked diligently to advance the case forward.

  That said, certain tasks remain for completion which can only be accomplished in the Florida

  SCIF.

          In its Opposition, the SCO seemingly ignores Messrs. Blanche and Bove’s unavailability

  in this District due to the People v. Trump trial and steers clear of the fact that “Mr. Bove is

  principally responsible for all classified and CIPA litigation in this case on behalf of President

  Trump,” ECF No. 452 at 4. See ECF No. 453 at 6-7 (“Defendant Trump has local counsel—who

  are familiar with the case and who have obtained all the necessary security clearances—who are

  not participating in the New York trial and can handle any remaining work on the submissions.”).

          This argument is disingenuous at best, because just last month at a hearing before this

  Court, the SCO lauded Mr. Bove and recognized his indispensability to President Trump’s team

  in filing a CIPA § 5 notice.

                 One, Mr. Blanche was expressing some shock over the fact that we
                 wouldn't think -- that we wouldn’t know that we might want to

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                   litigate the Section 5. I will just tell the Court that I saw their notice
                   in the election case, and it was woefully inadequate. I mean, it
                   sought things that had not even been produced in discovery. It was
                   noticing things that were in -- somewhere in the Intelligence
                   Community's realm. And that's why our colleagues in that case filed
                   their motion to strike.

                   We have every expectation, knowing, again, Mr. Bove and his
                   experience, that the Court -- that they would -- in this case they
                   will file a sufficient -- a sufficient notice. So we don't expect there
                   to be litigation. We certainly don't want there to be.

  March 1, 2024, Hrg. Tr. 82:2-15 (emphasis added). The SCO cannot seriously contend that CIPA

  § 5(a), whereby a defendant must provide particularized notice setting forth the specifically

  classified information which he believes to be necessary to his defense, is not a critical stage. See

  United States v. Collins, 720 F.2d 1195, 1199 (11th Cir. 1983) (describing requirements of CIPA

  § 5(a)). The SCO also cannot seriously contend Mr. Bove is not indispensable in this process.

  Thus, even setting aside the lack of availability noted in the Motion, local counsel are not capable

  of handling alone1 the tasks remaining to finalize the CIPA § 5(a) process.

          The SCO’s suggestion that no constitutional infirmity exists for denying a brief extension

  of a pre-trial motion deadline only underscores President Trump’s argument that, as evidenced by

  the dearth of authority on the issue, in any other case, much less one involving the complexities of

  CIPA, the government would not seriously contend that a criminal defendant’s Sixth Amendment

  right is not prejudiced when his counsel of choice represents the same criminal defendant in a trial

  in a different jurisdiction where the defendant and his counsel cannot access or discuss the

  materials necessary to meet the pre-trial deadline. Any and all prejudice thus inheres to President

  Trump, not the government.




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   As the SCO is well aware, local counsel are not even able to discuss the relevant issues or seek any guidance from
  Mr. Bove outside the Florida SCIF.

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             Although authority like United States v. Verderame arise from a denial of a motion to

  continue trial, rather than a pre-trial deadline, the thrust of the court’s holding applies equally in

  this instance: “Implicit in this [Sixth Amendment] right to counsel is the notion of adequate time

  for counsel to prepare the defense.” 51 F.3d 249, 252 (11th Cir. 1995). Given the potential penalties

  associated with a defendant’s failure to properly comply with the requirements of § 5(a), see CIPA

  § 5(b), President Trump and his counsel of choice require adequate time to prepare the defense.

  Adhering to the SCO’s “insistence upon expeditiousness” in this instance would render President

  Trump’s “right to defend with counsel an empty formality.” Verderame, 51 F.3d at 252.

  Accordingly, President Trump respectfully requests an adjournment of the May 9, 2024, deadlines

  until three weeks after the conclusion of the People v. Trump trial.2

      Dated: April 18, 2024                                  Respectfully submitted,

                                                             /s/ Todd Blanche
                                                             Todd Blanche (PHV)
                                                             toddblanche@blanchelaw.com
                                                             Emil Bove (PHV)
                                                             emil.bove@blanchelaw.com
                                                             BLANCHE LAW PLLC
                                                             99 Wall Street, Suite 4460
                                                             New York, New York 10005
                                                             (212) 716-1250


                                                             /s/ Christopher M. Kise
                                                             Christopher M. Kise
                                                             Florida Bar No. 855545
                                                             ckise@continentalpllc.com
                                                             CONTINENTAL PLLC
                                                             255 Alhambra Circle, Suite 640
                                                             Coral Gables, Florida 33134
                                                             (305) 677-2707

                                                             Counsel for President Donald J. Trump



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      The trial is proceeding expeditiously, and jury selection may be completed by the end of this week.

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                                 CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on April 18, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                      /s/ Christopher M. Kise
                                                      Christopher M. Kise




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